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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY, JR. (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Attorneys for the Debtors

In re:                                                        Case No. 08-14631 (GMB)
                                                              (Jointly Administered)
SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                              Judge: Gloria M. Burns
                 Debtors.
                                                              Chapter: 11



                Recommended Local Form:                 Followed           Modified


                   CERTIFICATION OF PROFESSIONAL IN SUPPORT OF
                   APPLICATION FOR RETENTION OF PROFESSIONAL

         I, J. Scott Victor, being of full age, certify as follows:

         1.      I am seeking to be retained as sales consultant/investment banker under Sections

327 and 328(a) of the Bankruptcy Code for Shapes/Arch Holdings L.L.C. (“Shapes/Arch”),

Shapes L.L.C. (“Shapes”), Delair L.L.C. (“Delair”), Accu-Weld L.L.C. (“Accu-Weld”) and Ultra

L.L.C. (“Ultra”, and with Shapes/Arch, Shapes, Delair and Accu-Weld, collectively, the

“Debtors”).

         2.      My professional credentials include: I received a B.A. from the University of

Pennsylvania, and a J.D. from the University of Miami School of Law. I am a Fellow of the

American College of Bankruptcy and a member of the Executive Committee of the Board of

Directors of the Turnaround Management Association. I am also the co-chair of the Investment



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Banking Committee of the American Bankruptcy Institute and a member of the Eastern District

of Pennsylvania Bankruptcy Conference - Long Range Planning Committee and former member

of its Steering Committee. I am also a member of the Association of Insolvency and

Restructuring Advisors, Association for Corporate Growth, Philadelphia Bar Association,

Pennsylvania Bar Association and American Bar Association.

          3.      I am the senior managing director and co-head of the Special Situations Group of

NatCity Investments, Inc. (“NatCity”), with offices located at 300 Barr Harbor Drive, West

Conshohocken, Pennsylvania, 19428.

          4.      The proposed arrangement for compensation is as follows: Subject to Court

approval, NatCity will seek a flat fee of $250,000, plus 5% of the amount by which an

Alternative Transaction exceeds the sum of the offer by Arch Acquisition plus the break up fee

and expense reimbursement1 as more fully described in the Engagement Agreement attached

hereto.

          5.      To the best of my knowledge, after reasonable and diligent investigation, my

connection with the debtors, creditors, any other party in interest, their respective attorneys and

accountants, the United States Trustee, or any person employed in the office of the United States

Trustee, is as follows:

           None

        Describe Connection: NatCity is working on other current matters, unrelated to this
case, with Debtor’s Counsel, Cozen O’Conner, and with Committee Counsel, Cole, Schotz,
Meisel, Forman and Leonard.

          6.      To the best of my knowledge, after reasonable and diligent investigation, the

connection of my firm, its members, shareholders, partners, associates, officers and/or employees

1
 For example, if the winning bid is $7 million to unsecured creditors from a competing bidder,
NatCity would be entitled to a total fee of $275,000 ($250,000 flat fee, plus 5% of $500,000 (the
surplus over the initial bid, break-up fee and expense reimbursement)).

                                                   2
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with the debtor(s), creditors, any other party in interest, their respective attorneys and

accountants, the United States trustee, or any person employed in the office of the United States

trustee, is as follows:


         None
         Describe Connection: National City Bank (“NCB”), the parent of NatCity, holds a

subordinated unsecured claim against the Debtors pursuant to a subordinated note dated

December 30, 2003 in the face amount of $1,683,000. NCB was a member of the lender group

for the Debtors prior to the current lender group and retained a subordinated claim as part of the

refinancing. NCB has agreed to waive its subordinated note upon approval of NatCity’s

retention herein.

        7.       To the best of my knowledge, my firm, its members, shareholder, partners,

associates, officers and/or employees and I (check all that apply):

         do not hold an adverse interest to the estate.

         do not represent an adverse interest to the estate.

         are disinterested persons under 11 U.S.C. § 101(14).

         do not represent or hold any interest adverse to the Debtors or their estates with respect
          to the matter for which he/she will be retained under 11 U.S.C. § 327(e).
         Other; explain: From time to time, NatCity may represent, or may have represented

the Debtors’ account debtors, creditors or interest holders of the Debtors in matters unrelated

either to the Debtors’ cases or to those entities’ transactions or dealings with the Debtors.

NatCity has conducted a thorough conflict check and has determined that no conflict exists. In

the event a potential conflict is discovered, this Application will be updated.

        8.       If the professional is an auctioneer,

        A.       A surety bond in accordance with D.N.J. LBR 2014-1(B)(2) is attached.



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                          Yes           No

        B.       My qualifications and previous experience as an auctioneer include:
        C.       Have you or any member of your firm ever been convicted of any criminal
                 offense, other than motor vehicle violations?  Yes             No
        9.       If the professional is an auctioneer, appraiser or realtor, the location and

description of the property is as follows:


        I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.




Date: May 13, 2008
                                                        Signature of Professional

                                                        J. Scott Victor
                                                        Name of Professional




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